
TAM Medical Supply Corp., as Assignee of Meikle, Yvette, Appellant, 
against21st Century Insurance Company, Respondent.




The Rybak Firm, PLLC (Joseph D. DePalma, Esq.), for appellant.
Law Offices of Bryan M. Rothenberg (Sharon A. Brennan, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Cheree A. Buggs, J.), entered October 15, 2014. The order, insofar as appealed from as limited by the brief, granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals, as limited by its brief, from so much of an order of the Civil Court as granted defendant's cross motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath.
For the reasons stated in TAM Med. Supply Corp., as Assignee of Garcia, Nancy v 21st Century Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2014-2698 Q C], decided herewith), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 03, 2017










